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                       UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

                                        Form 10. Bill of Costs
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

9th Cir. Case Number(s) 22-16252

Case Name LTC (BVI) LIMITED v. BRAUNHAGEY & BORDEN LLP
The Clerk is requested to award costs to (party name(s)):
Plaintiff-Appellee LTC (BVI) LIMTED


I swear under penalty of perjury that the copies for which costs are requested
were actually and necessarily produced, and that the requested costs were
actually expended.

Signature s/Sanjeet S. Ganjam                                           Date 8/10/2023
(use “s/[typed name]” to sign electronically-filed documents)

                                                                        REQUESTED
 COST TAXABLE
                                                               (each column must be completed)
                                                        No. of     Pages per  Cost per      TOTAL
 DOCUMENTS / FEE PAID
                                                        Copies       Copy        Page        COST
 Excerpts of Record*                                                                 $             $
 Principal Brief(s) (Opening Brief;
 Answering Brief; 1st, 2nd , and/or 3rd Brief               7             26         $ 0.10        $ 18.20
 on Cross-Appeal; Intervenor Brief)
 Reply Brief / Cross-Appeal Reply Brief                                              $             $

 Supplemental Brief(s)                                                               $             $
 Petition for Review Docket Fee / Petition for Writ of Mandamus Docket Fee /
                                                                                                   $
 Appeal from Bankruptcy Appellate Panel Docket Fee
                                                                                         TOTAL: $ 18.20

*Example: Calculate 4 copies of 3 volumes of excerpts of record that total 500 pages [Vol. 1 (10 pgs.) +
Vol. 2 (250 pgs.) + Vol. 3 (240 pgs.)] as:
No. of Copies: 4; Pages per Copy: 500; Cost per Page: $.10 (or actual cost IF less than $.10);
TOTAL: 4 x 500 x $.10 = $200.
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Form 10                                                                                          Rev. 12/01/2021
             6HH$WWDFKPHQW
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ATTACHMENT 1


       Appellee LTC (BVI) Limited (“LTC”) is the party prevailing on the Stock Purchase
Agreement (“SPA”) asserted by Appellant BraunHagey & Borden LLP (“BHB”) pursuant to
which BHB unsuccessfully sought removal to the Northern District of California. The Section
6.8 SPA provides that the prevailing party in a dispute is entitled to recover its attorneys’ fees:
       6.8 Expenses. . . . If any action at law or in equity is necessary to enforce or interpret the
       terms of this Agreement, . . . the prevailing party shall be entitled to reasonable
       attorney's fees, costs and necessary disbursements in addition to any other relief to which
       such party may be entitled.
        Under California Civil Code section 1717, LTC is entitled to recover attorneys’ fees from
BHB as an item of costs, even though BHB is not a party to the SPA, because BHB has asserted
rights under the forum selection clause in the SPA at the District Court and in this appeal. Hsu v.
Abbara, 9 Cal. 4th 863, 870 (1995) (“In any action on a contract, where the contract specifically
provides that attorney's fees and costs shall be awarded either to one of the parties or to the
prevailing party, then the party who is determined to be the party prevailing on the contract,
whether he or she is the party specified in the contract or not, shall be entitled to reasonable
attorney's fees in addition to other costs.” Emphasis added.).
       Accordingly, LTC reserves the right to and announces its intent to file a Motion for
Attorneys’ Fees under Circuit Rule 39-1.6 and/or a Request for Transfer Consideration of
Attorneys’ Fees under Circuit Rule 39-1.8 within the time provided by those rules.




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